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     Jon B. Fougner (State Bar No. 314097)
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 5   Attorneys for Plaintiff and the Proposed Class
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 8
                               UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   DR. TIMOTHY COLLINS and SIDNEY
     NAIMAN, individually and on behalf of all        Case No. 4:17-cv-03806-CW
12   others similarly situated,
                                                      DECLARATION OF JON B.
13                         Plaintiff,                 FOUGNER IN SUPPORT OF
                                                      PLAINTIFF’S MOTION FOR
14
            v.                                        CLASS CERTIFICATION
15
     TOTAL MERCHANT SERVICES, INC.,
16   QUALITY MERCHANT SERVICES, INC.,                 JURY TRIAL DEMAND
     MICHAEL ALIMENTO and BOBBY
17
     POWERS                                           Complaint Filed: July 5, 2017
18                  Defendants.
                                                       DATE:            August 14, 2018
19
                                                       TIME:            2:30 p.m.
20
                                                       LOCATION:        1301 Clay St.,
21                                                                      Oakland, CA 94612
22
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                     DECL. JON B. FOUGNER SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
               Case 4:17-cv-03806-CW Document 82-2 Filed 07/10/18 Page 2 of 3




 1            I, Jon B. Fougner, declare under penalty of perjury:
 2            1.      I am over 18 years of age. I am an attorney duly licensed to practice law in the
 3   States of California and New York.
 4            2.      I am co-counsel of record to the Plaintiffs in this case.
 5            3.      The following facts are of my personal knowledge. If called as a witness I could
 6   and would testify competently as to their truth.
 7            4.      I submit this declaration in support of Plaintiff Sidney Naiman’s Motion for Class
 8   Certification.
 9            5.      I received my J.D. from Yale Law School in 2014. At that time, Yale was the #1
10   ranked law school in the country, according to U.S. News & World Report.
11            6.      During law school, I worked as a summer associate Wachtell, Lipton, Rosen &
12   Katz. At that time, Wachtell Lipton was the #1 ranked law firm in the country, according to
13   Vault.
14            7.      During law school, I worked as a summer associate at Munger, Tolles & Olson
15   LLP.
16            8.      I was selected as an editor of The Yale Law Journal.
17            9.      I am the author of Antitrust Enforcement in Private Equity, 31 Yale J. on Reg.
18   Online 25 (2013).
19            10.     During law school, I was awarded the Judge Ralph K. Winter Prize in economics
20   and the William K.S. Wang Prize in business organizations.
21            11.     I passed the July 2014 New York Bar Examination on the first try and was
22   admitted to practice in March 2015.
23            12.     I passed the July 2016 California Bar Examination on the first try and was
24   admitted to practice in January 2017.
25            13.     I have served as putative class counsel in several putative TCPA class actions,
26   including as follows.
27                    a. In Perrong v. Macy’s Inc., 2:18-cv-01382-GEKP, (E.D. Pa. filed Apr. 2,
28                        2018), I am lead counsel.

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                        DECL. JON B. FOUGNER SUPP. PL.’S MOT. CLASS CERTIFICATION
                      Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-2 Filed 07/10/18 Page 3 of 3




 1                  b. In Fabricant v. United Card Solutions LLC., Case 2:18-cv-1429 PA (FFMx)
 2                     (C.D. Cal. filed Feb. 21, 2018), I have participated in the drafting of motions
 3                     and other papers.
 4                  c. In Berman v. Freedom Fin. Network, LLC, Case 4:18-cv-01060-DMR (N.D.
 5                     Cal. filed Feb. 19, 2018), I am co-lead counsel and have drafted motions,
 6                     pleadings and other papers.
 7          14.     I have served as lead counsel to the plaintiff(s) in several other TCPA cases,
 8   including as follows.
 9                  a. Cunningham v. Performance SLC LLC, Case 8:18-cv-01093 (C.D. Cal. filed
10                     June 20, 2018);
11                  b. Cunningham v. Student Loan Advocacy Grp., 3:18-cv-00329-GPC-JLB (S.D.
12                     Cal. filed Feb. 10, 2018) (settled); and
13                  c. Heidarpour v. Empire Capital Funding Grp. Inc., Case 4:18-cv-00250-KAW
14                     (N.D. Cal. filed Jan. 11, 2018) (recommendation of default judgment in the
15                     amount of $105,975).
16          15.     I keep up with developments in TCPA and class action practice, including
17   through CLE. For example, I attended the 21st Annual National Institute on Class Action on
18   October 26-27, 2017 in Washington, D.C. and the 5th Annual Western Regional CLE Program
19   on Class Actions and Mass Torts on June 22, 2018 in San Francisco.
20
21   RESPECTFULLY SUBMITTED AND DATED this 10th day of July, 2018.
22
                                           By: /s/ Jon B. Fougner
23
                                           Jon B. Fougner
24
                                           Attorney for the Plaintiffs and the Proposed Classes
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                     DECL. JON B. FOUGNER SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
